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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: DEPUY ORTHOPAEDICS, INC., PINNACLE HIP
IMPLANT PRODUCTS LIABILITY LITIGATION                                                   MDL No. 2244


                                   ORDER DENYING REMAND


       Before the Panel: Plaintiff in the action (Mugnolo) listed on the attached Schedule A moves
under Panel Rule 10.3 for Section 1407 remand of the action to the Northern District of California.
Responding defendant DePuy Orthopaedics, Inc., opposes the motion.

         After considering the argument of counsel, we deny the motion to remand. We ordered
centralization in this docket in May 2011. See In re DePuy Orthopaedics, Inc., Pinnacle Hip Implant
Prods. Liab. Litig., 787 F. Supp. 2d 1358 (J.P.M.L. 2011). The MDL actions are largely personal injury
actions sharing factual questions concerning alleged injuries from DePuy’s Pinnacle Acetabular Cup
System hip implants. In seeking remand, plaintiff mostly rehashes the arguments he made in his motion
to vacate our order conditionally transferring his action to the MDL, which we denied over plaintiff’s
objections in October 2015. See In re DePuy Orthopaedics, Inc., Pinnacle Hip Implant Prods. Liab.
Litig., 2015 U.S. Dist. LEXIS 139928 (J.P.M.L. Oct. 13, 2015). In his motion to vacate, plaintiff argued
that the MDL did not involve non-metal-on-metal devices and that the manner of his injury (hip
dislocation due to locking ring failure) was unique. Id. at *3. In transferring Mugnolo, we noted that,
as stated in the initial transfer order, the MDL was not limited to metal-on-metal configurations of
Pinnacle hip implants and that “[e]ven if the mechanism of failure of plaintiff's Pinnacle hip implant is
somewhat different, transfer is appropriate to prevent any overlap in discovery in the MDL....” Id.

        In addition to the arguments made in his motion to vacate, plaintiff asserts that personal
circumstances regarding his finances and health require quick resolution of his claims, yet his case has
not significantly progressed since transfer. But, plaintiff filed this Section 1407 motion without first
seeking a suggestion of remand from the transferee judge. Panel Rule 10.3(a) counsels that we are
“reluctant to order a remand absent the suggestion of the transferee judge.” Indeed, a party moving for
Section 1407 remand without such a suggestion “bears a strong burden of persuasion.” In re: Air Crash
Disaster in Ionian Sea on Sept. 8, 1974, 438 F. Supp. 932, 934 (J.P.M.L. 1977). Plaintiff has not met
that burden here. Judge Kinkeade, in his capacity as transferee judge, has become familiar with the
issues in this litigation by presiding over extensive pretrial proceedings. He is in the best position to
determine the future course of actions in the MDL. Remand of this or any other MDL cases without the
transferee judge’s suggestion would be premature.
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       IT IS THEREFORE ORDERED that the motion for Section 1407 remand of the action listed
on Schedule A is DENIED.


                                  PANEL ON MULTIDISTRICT LITIGATION




                                                 Sarah S. Vance
                                                      Chair

                                 Lewis A. Kaplan                  Ellen Segal Huvelle
                                 R. David Proctor                 Catherine D. Perry
                                 Karen K. Caldwell                Nathaniel M. Gorton
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IN RE: DEPUY ORTHOPAEDICS, INC., PINNACLE HIP
IMPLANT PRODUCTS LIABILITY LITIGATION                             MDL No. 2244


                                        SCHEDULE A

           Northern District of Texas

     MUGNOLO v. DEPUY ORTHOPAEDICS, INC., ET AL., C.A. No. 3:15-3347
                (N.D. California, C.A. No. 4:15-2314)
